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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

CIVIL DIVISION

&

/ CASEY DOOLEY, = . S NO. 3:18-cv-1310
. PLAINTIFF -
Vv §
. AMENDED PRISONER
CIVIL RIGHTS
COMPLAINT
JOHN E. WETZEL, 42 U.S.C. §. 1983
SECRETARY OF THE PA. D.O.C. | § a
: (As Per Court order)
AND.
MS. JESSICA COUSINS, _ gg JURY TRIAL DEMANDED
PMHNP-BC co
AND : FILED
SCRANTON
RICHARD A. GOSS 5 :
LPM oe «DEC 38 2020
AND Oe per ( (EW
MR. SISTO 5 DEPUTY CLERK
MHS :
AND
MS. McMANNON, :
PSS §

PRISONER CIVIL RIGHTS COMPLAINT

42 U.S.C. § 1983 |
EIGHT AMENDMENT VIOLATION
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THE PLAINTIFF IN THIS ACTION IS A PRISONER WHO IS SITUATED AND
INCARCERATED IN SCI-HUNTINGDON, AT 1100 PIKE STREET, HUNTINGDON,
PENNSYLVANIA, 1665421112. THE PLAINTIFF'S PRISONER NUMBER IS
FB7702.

DEFENDANTS
THIS IS AN ONGOING VIOLATION EVEN TO THIS DAY.

THE DEFENDANT'S ARE: JOHN E.. WETZEL, THE SECRETARY OF THE PA.

DEPARTMENT OF CORRECTIONS, WHO HAS DIRECT RESPONSIBILITY FOR THE

OPERATIONS OF SCI-HUNTINGDON.

THE DEFENDANT MS. JESSICA COUSINS, IS EMPLOYED IN THE MENTAL

HEALTH DEPARTMENT AT SCI-HUNTINGDON AS A PMHNP-BC.

THE DEFENDANT RICHARD A. Goss, IS EMPLOYED IN THE MENTAL HEALTH
DEPARTMENT AT SCI-HUNTINGDON AS A LPM.

THE DEFENDANT MR. SISTO IS EMPLOYED IN THE MENTAL HEALTH DEPARTMENT
AT SCI-~HUNTINGDON AS A MHS.

THE DEFENDANT MS. McMANNON IS EMPLOYED IN THE MENTAL HEALTH

DEPARTMENT AT SCI-HUNTINGDON AS A PSS.

PREVIOUS LAWSUITS

PRIOR TO FILING THIS LAWSUIT I HAVE NOT FILED ANY PREVIOUS LAWSUITS

IN ANY COURT. I HAVE TRIED TO SETTLE ANY DIFFERENCES WITHIN THE

. GRIEVANCE SYSTEM, BUT REGARDING THIS INSTANT ISSUE,. THE DEFENDANT'S

REFUSE TO ACCEPT THE FACT THAT THE JURY FOUND ME GUILTY BUT MENTALLY
ILL, AND HAVE DEPRIVED ME OF THE MENTAL HEALTH PROGRAMS AVAILABLE

2.
x

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TO [D] CODE PRISON INMATES. (Inmates suffering from mental health
problems). .
TI. HAVE ATTACHED TO THIS COMPLAINT THE TRANSCRIPT PAGES. THAT DO

SET FORTH THAT THE JURY FOUND ME GUILTY BUT MENTALLY ILL. SEE THE

ATTACHED *APPENDIX [A] & [B]. THERE IS NO QUESTION THAT THE JURY

FOUND ME GUILTY BUT MENTALLY ILL. *APPENDIX [A] & [BJ].

APPENDIX [A-2] (TRANSCRIPT): ATTORNEY EVERETT GILLISON, COUNSEL
FOR. PLAINTIFF CASEY DOOLEY STATES ON THE RECORD--—>THE FINDING OF

GUILTY, BUT MENTALLY ILL BY THE JURORS, WE SHOULD AT LEAST PAY

ATTENTION TO THE MENTAL HEALTH FINDING. THE JUDGE STATED ON

THE RECORD:~->I HAVE CONSIDERED THAT, AND REALIZE THAT THE DEFENDANT

NEEDS SOME PSYCHIATRIC ASSISTANCE. APPENDIX [A-2].
IN SPITE OF THE PROOF OF THE JURY VERDICT

(1) THE DEFENDANT'S ASSERT THAT I WAS NOT FOUND GUILTY BY

THE JURY OF THE FOLLOWING VERDICT: GUILTY BUT MENTALLY ILL.
THE TRANSCRIPT AND JURY VERDICT PROVE I WAS FOUND GUILTY

BUT MENTALLY ILL.

(2) THE DEFENDANT'S ALLEGE THAT THE JUDGE CHANGED THE VERDICT

CONCERNING -->GUILTY BUT MENTALLY ILL.

THAT IS ABSOLUTELY FALSE AND NEVER HAPPENED.
(3) AS A RESULT THE DEFENDANT'S REFUSE TO CLASSIFY ME AS A [D]

CODE, WHICH WOULD PROVIDE ME WITH ADDITIONAL MENTAL HEALTH CARE.

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DEFENDANT JOHN E. WETZEL: SECRETARY OF THE PA. D.O.C...-

I HAVE NOTIFIED THE DEFENDANT WETZEL BY UTILIZING FORM DC-135 A,
OF THE FACT THAT THE POLICY HE DRAFTED (POLICY 13.8.1 - SECTION
2-25 (GUILTY BUT MENTALLY ILL INMATES (GBM) ) WAS NOT BEING ADEERED
TO AT SCI-HUNTINGDON. __ .
SPECIFICALLY, DEFENDANT WETZEL WAS NOTIFIED BY ME THAT THE
MENTAL HEALTH STAFF MEMBERS HERE AT HUNTINGDON WERE IGNORING MY

PROOFS SUBMITTED. TO THEM, AND COPIES SENT TO DEFENDANT WETZEL,

THAT I WAS FOUND GUILTY BUT MENTALLY ILL BY-A JURY IN THE COMMON

PLEAS COURT IN PHILADELPHIA COUNTY ON JUNE 6, .2002, AND THAT I WAS
SENTENCED ON AUGUST 15, 2002. I PROVIDED THE TRANSCRIPT PAGES THAT
SHOW THE JURY VERDICT (GBMI) AND THE SENTENCING PAGES OF THE SAID
“AUGUST 15, 2002 SENTENCING. THE JUDGE STATED AT SENTENCING THE
FOLLOWING: "I HAVE CONSIDERED THAT, AND REALIZE THAT THE DEFENDANT
NEEDS SOME PSYCHIATRIC ASSISTANCE". (EVEN A LAYMAN, NOT A DOCTOR,
WAS ABLE TO IDENTIFY THAT I NEEDED MENTAL HEALTH PSYCHIATRIC
ASSISTANCE; IT WAS OBVIOUS).

DEFENDANT WETZEL WAS PROVIDED ALL OF THIS INFORMATION AND I DID
UTILIZE FORMIDC-135 Al WITH THE ATTACHMENTS AS MENTIONED ABOVE. I
NOTIFIED DEFENDANT WETZEL THAT I HAD FALLEN THROUGH THE CRACKS OF
THE SYSTEM AT HUNTINGDON AND THAT HIS POLICY 13.8.1 SECTION 2-25
WAS NOT BEING ADHERED TO, AND THAT WITHOUT THE [D] CODE NONE OF THE
EXPANSIVE MENTAL HEALTH PROGRAMS WOULD BE AVAILABLE TO ME.

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DEFENDANT WETZEL FAILED TO TAKE ANY ACTION TO CORRECT THIS
PROBLEM AND TO HAVE THE SCI-HUNTINGDON STAFF, THAT ARE UNDER HIS
SUPERVISION, HAVE THE [D] CODE AND. THE EXPANSIVE MENTAL HEALTH

PROGRAMS THAT COME WITH THE [D] CODE, MADE AVAILABLE TO ME.

‘DEFENDANT JESSICA COUSINS IS A MENTAL HEALTH STAFF EMPLOYEE
AT SCI~HUNTINGDON. f HAD NUMEROUS CONVERSATIONS WITH DEFENDANT |
COUSINS CONCERNING My SITUATION AND THAT I WAS BEING DENIED THE
EXPANSIVE MENTAL HEALTH PROGRAMS THAT BECOME AVAILABLE WITH THE
[D] CODE DESIGNATION. I EXPLAINED TO HER THAT I WAS FOUND GUILTY

BY A JURY AND THAT THE VERDICT WAS GUILTY BUT MENTALLY ILL. (GBMI).

THAT THE COURT RECORDS SHOW, ABSOLUTELY, THAT THE VERDICT WAS
(GBMI) BY THE JURY AND THAT DURING THE SENTENCING ON AUGUST 15, 2002,
THE TRANSCRIPTS SHOW THAT THE JUDGE ACKNOWLEDGED THIS AND STATED

THAT I NEED SOME PSYCHIATRIC ASSISTANCE. I ALSO SENT HER A FORM

DC-135 A-requesting the-[D] CODE. DEFENDANT COUSINS DID NOT ACT
“PO ASSIST ME WITH MY MENTAL HEALTH PROBLEMS AND HAVE THE [D] CODE
DESIGNATION MADE AVAILABLE TO ME. I HAVE BEEN DENIED THE MENTAL
HEALTH PROGRAMS THAT WOULD HAVE BEEN OF ASSISTANCE TO MY MENTAL
HEALTH PROBLEMS. I MADE HER AWARE OF MY MENTAL HEALTH PROBLEMS.

NOTHING WAS DONE TO HAVE THE §D§@ CODE DESIGNATION AND THE SPECIAL

MENTAL HEALTH PROGRAMS MADE AVAILABLE TO ME BY DEFENDANT COUSINS. .

I INFORMED DEFENDANT COUSINS THAT I WAS SUFFERING DEPRESSION,
PAIN, TRAUMA, LACK OF SLEEP, NIGHMARES, PARANOTA.

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DEFENDANT MR. SISTO IS A MENTAL HEALTH STAFF EMPLOYEE AT SCI-
HUNTINGDON. I. HAVE HAD NUMEROUS CONTACTS WITH MR. SISTO CONCERNING
MY MENTAL HEALTH SITUATION AND THE [D] CODE, AS WELL AS THE MANY
‘MENTAL HEALTH PROGRAMS THAT WOULD BE AVAILABLE TO ME IF I WAS
DESIGNATED AS A [D] CODE. DEFENDANT SISTO, INSISTED THAT I WAS
Not FOUND GUILTY JOR DESIGNATED AS A (GBMI)] BY THE JURY AS GUILTY

BUT MENTALLY ILL. *THAT NO COURT RECORD SHOWS THAT I WAS FOUND

GUILTY BUT MENTALLY ILL. * THEREFORE DEFENDANT SISTO INSISTED I WAS

NOT A (GBMI) SENTENCED INMATE. I WROTE TO DEFENDANT SISTO ON A FORM

135 A AND ATTACHED THE TRANSCRIPT PAGES SHOWING THE VERDICT. (GBMI).
STILL NOTHING WAS DONE TO ASSIST ME IN THIS MATTER BY DEFENDANT SISTO.

DEFENDANT GOSS (RICHARD A. GOSS)(LPM), IS/WAS EMPLOYED, DURING

THE TIMES RELEVANT TO THIS MATTER, BY THE MENTAL HEALTH STAFF AT SCI-
HUNTINGDON. DEFENDANT GOSS AND I HAD NUMEROUS DISCUSSIONS CONCERNING
MY [D] CODE STATUS ISSUE. DEFENDANT GOSS "INSISTED" THAT I WAS NOT

A GUILTY BUT MENTALLY ILL-SENTENCED PRISONER. HE FURTHER STATED THAT

THE SENTENCING JUDGE “CHANGED THE VERDICT"-->REMOVING THE (GBMI) AND

MAKING MY SENTENCE SIMPLY GUILTY. I TOLD HIM THAT WAS NOT TRUE’ NOR
WAS IT-FACTUAL. I SHOWED HIM THE SENTENCING TRANSCRIPT AND THE JURY
VERDICT THAT CLEARLY SHOWS THE-(GBMI) VERDICT. HIS POSITION WAS THAT
TRANSCRIPT COULD BE SOMETHING I MADE UP. HIS ATTITUDE TOWARDS ME
WAS NOT: PROFESSIONAL AND WAS NOT AT ALL FRIENDLY. I ALSO WROTE HIM

ON A FORM DC 135 A - BUT WAS TOLD THAT THE COURT RECORDS SHOWED |

THE JUDGE CHANGED THE VERDICT FROMEIGBMI]-->TO JUST GUILTY.

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‘f INFORMED HIM THAT WAS IMPOSSIBLE BECAUSE THE JURY FOUND ME

GUILTY BUT MENTALLY ILL AND AT SENTENCING THE JUDGE STATED THAT

I NEEDED PSYCHIATRIC ASSISTANCE. DEFENDANT GOSS WAS NOT INTERESTED
IN TAKING ME SERIOUS AND IGNORED MY REQUESTS TO BE [D]CODE DESIGNATED.
THEREFOR I WAS DENIED THE MENTAL HEALTH PROGRAMS THAT WOULD BE MADE

AVAILABLE TO ME IF I WAS [D] CODE DESIGNATED. *AT ALL TIMES HIS

POSITION WITH ME WAS, THAT I WAS NOT SENTENCED AS A GBMI DEFENDANT,

BY THE COURT, NOR FOUND GUILTY AS A GBMI DEFENDANT, BY THE JURY. THAT

WAS "ALWAYS" HIS POSITION WITH ME.

DEFENDANT MS. McMANNON IS A MENTAL HEALTH STAFF EMPLOYEE AT ScI-
HUNTINGDON. I ASKED HER FOR ASSISTANCE CONCERNING THE [D] CODE

MENTAL HEALTH CLASSIFICATION. I ALSO WROTE TO HER ON A FORM 135 A,

CONCERNING THIS ISSUE. AT ALL TIMES SHE TOOK THE IDENTICAL POSITION

AS DEFENDANT GOSS. SHE TOLD ME THAT I WAS NOT FOUND GUILTY BUT MENTALLY

ILL AND THAT THE JUDGE HAD CHANGED THE VERDICT TO SIMPLY GUILTY. r

EXPLAINED THE JURY FOUND ME GUILTY BUT MENTALLY ILL. THE JUDGE COULD

NOT CHANGE THE VERDICT OF THE JURY, AND THAT THE JUDGE DID STATE THAT

I NEEDED PSYCHIATRIC ASSISTANCE; SEE APPENDIX [A]-1 & [A]-2.
DEFENDANT McMANNION SIMPLY ADOPTED DEFENDANT GOSS'S POSITION AND
REFUSED TO ASSIST ME IN THIS MATTER. SHE REFUSED TO HELP ME WITH THIS
MENTAL HEALTH ISSUE.
THE CONSTANT PROBLEM THROUGHOUT WAS THIS:

THE DEFENDANTS REFUSED TO BELIEVE THAT I WAS FOUND GUILTY BY A

JURY TO GUILTY BUT MENTALLY ILL AND THAT I WAS SENTENCED AS (GBMI).

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BECAUSE OF THIS DELIBERATE INDIFFERENCE TO MY SERIOUS MENTAL HEALTH
NEEDS, EVEN. THOUGH I DID EVERYTHING POSSIBLE TO SEEK HELP, FOR MY

MENTAL HEALTH PROBLEMS FROM THE DEFENDANTS , I HAVE ‘LAID OUT A VALID

CLAIM AS TO THE DEFENDANT’ Ss VIOLATING MY EIGHT AMENDMENT RIGHTS. SEE

ESTELLE V. GAMBLE, 429 U.S. 97, 106 (1976); COLBURN V. UPPER DARBY,

946 F.2D 1017, 1023 (3D CIR. 1991), MITCHELL V. HORN, 318 F.3D 523

AT 530 (THE FACTS SUPPORTING MY EIGHT AMENDMENT CLAIM ARE NOT BASELESS,
-PANTASTIC, OR DELUSIONAL) . .

I MADE SPECIFIC ASSERTIONS TO EACH DEFENDANT. I ASSERTED A MEDICAL

_ NEED IN THE FORM OF SERIOUS MENTAL HEALTH PROBLEMS. SPECIFICALLY, I

, SENFORMED THE DEFENDANTS , EACH AND EVERY ONE OF THEM, THAT TI SUFFERED

DEPRESSION, PAIN, TRAUMA, LACK OF SLEEP, CONSTANT NIGHTMARES, EXTREME
PARANOIA, AND OTHER MENTAL HEALTH ISSUES. ANY LAY ‘PERSON WOULD SEE
THAT I NEEDED MENTAL, HEALTH ASSISTANCE SUCH AS THE [D] CODE WOULD

PROVIDE. PALAKOVIC V. WETZEL, 854 F.3D 209, 222, 227 (3D CIR. 2017)

INMATES OF THE ALLEGHENY CTY JAIL V. PIERCE, .612 F. 2D 754, 763 (3D
CIR. 1979).
MY NIGHTMARES, DEPRESSION, LACK OF SLEEP AND EXTREME PARANOIA, —
CONTINUE TO CAUSE ME ENORMOUS SUFFERING. CONTINUING ENORMOUS SUFFERING.
In: ADDITION TO DEMONSTRATING THAT A JURY RECOGNIZED MY MENTAL
ILLNESS, THE GBMI VERDICT DID SHOW THAT THE *MENTAL HEALTH NEEDS THAT
WERE RECOGNIZED BY LAY JURORS WERE SERIOUS ENOUGH TO REQUIRE, UNDER

CURRENT Doc POLICY, AT THE VERY LEAST, . TEMPORARY {[D}] CODE STATUS AND

REGULAR PSYCHIATRIC EVALUATION. § 13.8.1(2)(3)(1)(b)(2), (3).

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- HOWEVER, THAT WAS NOT AFFORDED TO ME. INSTEAD THE DEFENDANTS ,
ALTHOUGH EACH AND EVERY ONE OF THEM, WAS CONTACTED BY ME, AND MY
REQUEST FOR A [D] CODE DESIGNATION AND THE MENTAL HEALTH PROGRAMS
‘THAT COME WITH THE [D] CODE, EACH OF THE DEFENDANTS DENIED TO HELP
ME WITH MY MENTAL HEALTH [DI CODE. REQUESTS. oe

’ AS OF TODAY, THE DEFENDANT! Ss. CONTINUE TO DENY ME THE [D] CODE
STATUS /DESIGNATION. THE | DEFENDANT’ s POSITION Is. THAT I WAS NOT

. FOUND GUILTY BUT MENTALLY ILL (GBMT) AND THE JUDGE CHANGED THE

VERDICT. THEY REFUSE “TO BELIEVE THAT THE JUDGE HIMSELF, STATED

AT THE SENTENCING HEARING, THAT-->I NEEDED PSYCHIATRIC ASSISTANCE. .

SEE EXHIBIT/APPENDIX [A]-2.

THE JURY RECOGNIZED I NEEDED PSYCHIATRIC ASSISTANCE WHEN THEY
FOUND ME GUILTY BUT MENTALLY ILL (GBMI). SEE APPENDIX [A]-1.
Both the-JURY MEMBERS AND THE JUDGE ARE LAY PEOPLE, NOT MEDICAL

PROFESSIONALS, AND THEY RECOGNIZED MY-MENTAL HEALTH NEED FOR

PSYCHIATRIC ASSISTANCE. YET THE DEFENDANTS, HERE, REFUSED TO

ACKNOWLEDGE THIS NEED OF MINE FOR [D] CODE DESIGNATION. SEE THE
POLICY § 13.8.1(2)(7)(1)(b)(2), (3). (DOC POLICY).

THE DEFENDANT'S ONLY REASON FOR DENYING ME THE [D] CODE STATUS
WAS-->THAT THE JUDGE, THEY CLAIM, CHANGED THE VERDICT. THAT CLAIM
OF. THEIRS SHOWS HOW.OUTRAGEOUS THE DEFENDANT'S ACTIONS. AGAINST ME
WERE. A JUDGE CANNOT CHANGE A VERDICT OF THE JURY AND HERE, THE
JUDGE NEVER EVEN TRIED TO DO SUCH AN ACT.

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i WAS FOUND GUILTY. BUT. MENTALLY ILL (GBMI) AND, FOR THE RECORD,

THE JUDGE, AT SENTENCING, STATED THAT I NEED-~PSYCHIATRIC HELP.
THE DEFENDANTS DID VIOLATE MY RIGHT AMENDMENT RIGHT AND THE
DEFENDANT'S ACTIONS AS DESCRIBED IN THIS COMPLAINT, DOES SUPPORT

A LEGALLY VALID EIGHT AMENDMENT CLAIM.
THE PLAINTIFF HAS SUFFERED MENTAL HEALTH TRAUMA, AS A RESULT
OF THE DEFENDANTS OUTRAGEOUS ACTIONS, AGAINST PLAINTIFF, AS”

DESCRIBED IN THIS COMPLAINT.

THE PLAINTIFF SEEKS A JURY TRIAL.
RELIEF
THE PLAINTIFF SEEKS PUNITIVE DAMAGES AGAINST EACH OF THE NAMED:
DEFENDANTS FOR $20,000.
THE PLAINTIFF SEEKS COMPENSATORY DAMAGES AGAINST EACH OF THE
NAMED DEFENDANTS FOR $100,000 JOINTLY.
THE PLAINTIFF SEEKS ANY OTHER RELIEF THAT THE COURT DECIDES THE

PLAINTIFF IS ENTITLED TO.

I DECLARE THAT THE FOREGOING IS TRUE AND CORRECT UNDER PENALTY |

OF PERJURY.

NK
DATE: ufaof 2020 wd Sk

CASEY ROOLEY B7702
1100 PIKE STRE
HUNTINGDON, PA. 16654-1112

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FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

COMMONWEALTH

~ vs -

CASEY DOOLEY

COMMONWE ALTA
—- ws -

CASEY DOOLEY

Courtroom 904, Criminal Justice Center

BEFORE:

APPEARANCES:

IN THE COURT. OF COMMON PLEAS
CRIMINAL TREAL DIVISION

MARCH TERM, 2001

Tune 6, 2002
Philadelphia, Pennsylvania ©

HONORABLE RAYFORD A. MEANS, d.
and a Jury

EDWARD.MC CANN, ESQUIRE
DEBORAH ROBINSON, ESQUIRE
Assistant : District. Attorneys
For the: Commonwealth -

EVERETT. GILLISON, . ESQUIRE
VINCENT CORRIGAN,.. ESQUIRE
For the Defendarit

“JURY CHARGE and VERDICTS

ROBIN. BOBBIE, RPR
OFFICIAL COURT REPORTER

01031227.JT5

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(Ta the robing room 85 follows: } ,

MR. MC CANN: ‘They gave you one which I
don't think you should give, so we should
talk about that. ,

THE COURT: I'm going to give standard

charge.

MR. GILLISON: What happens is the
standard charge does not provide for this
prong of it because this is actually what
we're asking for, and Mr. Mr. McCann's
actually same language.

THE court: Here's the standard charge

I'm going to give. What are you trying to

"add to this?

MR. GILLISON: What I'm adding is,
first of f, this is in the form of a
curative instruction that we're
requesting.

THE COURT: That we did yesterday,
which I denied yesterday. ”

MR. GILLISON:. You said I would be able.
to bring it back up, so this is a review,
and I'm asking that you first reconsider
the motion for the mistrial. If you deny

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OFFICIAL COURT. REPORTER

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of the elements which I have stated, you
should find the defendant guilty of
recklessly endangering another person,
otherwise, you must find the defendant not
guilty.

With that, I have defined and answered
your questions. 1 ask you to return back
te the jury deliberation xoom.

(Whereupon, the jury exits the
courtxoom to deliberate.)

THE COURT: Back of the, record. Got a
second question from the ladies and
gentlemen of the jury. The ‘question is
possession of an instrument-of crime is
written down twice, Please clarify which -
instrument these charges refer to.

Now, where is it written down?

Is it written with anybody's charge
under any —- what bill numbers for PIC,
possession instrument of crime. See if it
says handgun. :

THE CLERK: . Bill 21 says firearm.

THE count: Bill 23 says firearm.

)HE CLERK: Bill 29.says firearm.

THE COURT: Okay. Bring. them out. .

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MR. GILLISON: Do you want to just say
that it's an exror, it’s one possession of
an instrument of crime?

THE COURT: It's just one?

MR. MC CANN: That’s fine.

MA. GILLISON: We can send a note. We
don't have ‘to bring them out.

MAL MC CANN: One charge.

THE COURT: You want to say it's a
cherical error, disregard one?

Okay. fari, go tell them -- as a
matter of fact, take the verdict sheet and
exoas out the second PIC.

MR. MC CANN: That's fine.

MA. GILLISON: Right. Cross out the
second one.

THE COURT: Knock on the door and cross
it out. Okay? We'll agree.

(Pause.)

It's been reported that there's a

pment ean SA
verdict. We ask all parties, regardless

gear

of whose side of the room you'xe sitting

on, no matter what your state in the case,

' please control your emotions. Do not.

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tolerate any outburst. Whether you

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OFFICIAL COURT REPORTER

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disagree or-agree with the verdict, please
celebrate that ovt in the. streets and not
here in this courtroom. The Court will
take very serlously hold anyone in

contempt who violates these orders . We

. must have law and order in the courtroom.

We must respect the jury verdict. We will
now bring the verdict and: jury out into-
the room. :

(Wheretipon,; the jury enters the
courtroom.)

THE CRIER: Jurors, have you reached a
verdict?

THE FOREPERSON: Yes.

THE CRIER: Have all twelve agreed?

THE FOREPERSON: Yes. ,

THE CRIER: Foreperson, please rise.

On this bill. of information 1243, March |
term of 2001 charging defendant. Casey
Dooley with aggravated assault on Joseph
Connell, how-say you?

THE FOREPERSON: guilt Ya

THE CRIER: On attempt mirder?

THE COURT: Whoa, whoa.

THE FOREPERSON:. Guilty but mentally

ROBIN BOBBIE, BPR
“OFFICIAL COURT REPORTER

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L iil.
2 . THE COURT: On attempt murder on Joseph
3 Connell?
4 THE FOREPERSON: Guilty but mentally
5 ali.
6 . , THE CRIER: On recklessly endangering
7 : another person on. Pedro Agrant?
a THE FOREPERSON: Guilty but mentally
g il.
10 , THE CRIER: On aggravated assault on
11 Randy Salvati?
12 THE FOREPERSON: Guilty but mentally.
13 THE CRIER: Attempt murder on Randy
14: Salvati?
15 THE FOREPERSON: Guilty, mentally i11.
16 , , : THE CRIER! Agg. assault on Josephine
17 Leary?
16 _ THE FOREPERSON: Guilty but mentally
13 ill.
20 THE CRIER: Attempt maxder on Josephine
au ‘Leary? ,
22 THE FOREPERSON: .Guilty but mentally
23 i1h.
24 . . THE CRIER: Possession of an instrument

25 of crime?

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THE FOREPERSON: Guilty pat mentally
all.

THE CRIER: Aggravated assault on _
Nicole Gaskins?

HE FOREPERSON: Guilty but. mentally
aun. ,

THE CRIER: Attempt muxder an Nicole
Gaskins? ,

THE FOREPERSON: Guilty but mentally
ill. ,

THE CRIER: Aggravated assault on Dean
Lockhart 7

THE FOREPERSON: Guilty but mentally
iil. ,

THE CRIER: Attempt murder on Dean

Lockhart ?

THE FOREPERSON: Guilty but mentally
adil.

THE CRIER: ‘Your Honor, ‘jurors have
found the defendant Casey Dooley guilty.

May the verdi ct be recorded? ,

THE COURT: We'll poll the jury?

MR. GILLtSON: No.

THE COURT: No polling?

MA. GILLISON: No request.

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THE COURT: Okay. No polling the jury.

THE CRIER: Juroxs, hearken ‘to your
verdict as the Court has recorded. You
say you find the defendant, Casey Dooley,
guilty and so say you all. :

THE COURT: All right. On behalf of
the citizens of Philadelphia, take this
opportunity to thank you for your jury
service. The service that you have
rendered could not have been done without
you. It is obvious that you listened to
the evidence and paid close attention and
were true to your verdict. I thank you
and you will now excuse the gag order is
lifted. Should you see any of the other
jurors, it’s’‘lifted. The case has been
* concluded. Any parties are free to talk

at this point because the gag order in the

* case is formally concluded and you 've

reached a verdict. You can get your

‘personal effects and your jury service is -

terminated.

Mr. Heywood, who may be here, but we'll
give you access. We'll make sure you get
on. the elevator. You've been that route

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OFFICIAL COURT REPORTER

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several times before. You know the route.
You know where to go to get the paycheck
for your service, a0 we thank you again.
Hope you enjoyed the lunch.

{Wher eupon, “the jury exits the
courtroon. } /

THE court: Mr. Dooley, please rise.

Jury returned a verdict. We'll have a
sentencing in this" case. We'll order
presentencs inve stigation, mental health -
evaluation. Bail is revoked all cases and
all charges. ‘set a sentencing date.
Sentencing date I'm looking —-

MR. GILLISON: © Judge, can we go into ~~
only because July is a bad month for me
and August I may be finally getting some
honest vacation, ‘can we go into September
by chance?

THE COURT: What kind of vacation are
you going in august?

HR. GILLESON: - Probably be taking gone
courses and I‘li he unavailable, at least,
the first two weeks. If you want to make
it the third week of August; that's fine.

THE COURT: Are you available the third

ROBIN BOBBIE, RPR :
OFFICIAL COURT REPORTER =

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week of August?

MR. MC CANN: I'll ‘make myself
available. The third week of August is
fine.

MR. GILLISON: Or the last week of
August, if you want. I think my child
starts school the last week of August, so
I can't do that as well.

THE COURT: We'll go August 25th. Bail
is revoked. We've gone cut so far the
sentencing will not be postponed under
thege circumstances. All attorneys are
attached. This is more than enough time
‘for any presentence investigation, mental
health reports to be done. This date is
set in stone. There will be no delays
from this date.

MR. MC CANN: Very well, Youx Honor.

“MA. GILLISON: That's fine.

. THE COURT: And it will go in the
morning: so we'll go -- sentencing will go
approximately 10 o'clock in the morning on
that day. Any parties for the defense or
the Commonwealth or victims in the case or
friends or relatives or victims and the

ROBIN BOBBIE, RPR
OF FICIAL. COURT REPORTER
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case will go approximately 10 o'clock on

"august 15th in this courtroom. ‘Theré will.

be no delays, no postponements.
MR. GILLISON: Thank you, Judge.
MR. MC CANN; Thank you, Your Honor.

(Whereupon, case concluded.)

ROBIN BOBBIE, RER
OF FICIAL COURT REPORTER

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"91034243
_ TN THE COURT OF COMMON PLEAS.
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

CRIMINAL TRIAL DIVISION: ~

CASEY DOOLEY ©. , : "No. 1243

SENTEWCING

THURSDAY, AUGUST.15", 2002
CRIMINAL: JUSTICE. CENTER
1301 FIIBERT STREET
COURTROOM 804:
PHILADELPHIA, PENNSYLVANIA

BEFORE: HE HONORABLE RAYIORD A. MEANS, J(DGE

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COMMONWEALTH “oy “MARCH TERM, 2001 |

APPEARANCES

EDWARD McCANN,, ESQUIRE =>
ASSISTANT DISIRICT ATTORNEY . ao S

“FOR THE COMMONM/EALTH

EVERETT GILLISON, ESQUIRE

VINCENT. CORRIGAN, ESQUIRE -

“+ + COUNSELORS FOR THE DEFENDANT

‘REPORTED BY:

. CAROLYN QUEEN

OFFICIAL COURT REPORTER

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. Case 3:18-cv-01310-RDM Document 39 Filed 12/30/20 Page 20 of 24

WITNESS DR cR RDR ” RCR

COMMONWEALTH'S EVIDENCE

CASEY DOOLEY

CASSANDRA FORD LOCKHART

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DEFENDANT’S EVIDENCE .

. EXHIBITS — MARKED ‘ADMITTED

(CASEY DOOLEY, swcw) .

THE COURT: ' AL RIGHT, THIS IS THE CASE OF. CASEY HDOLEY. rns
HERE FOR SENTENCING, AND THE LAWYERS ARE PRESENT. WE HAVE ‘TESTRIBUTED .
ALL OF THE PRESENTENCE INVESTIGATIONS AND REPORTS.

DEFENSE?

MR. GILLISON: EVERETT GILLISON REPRESENTING MR. IDOLEY, ALONG
WITH MR. CORRIGAN. THE FINIXNG OF GUILTY, HT MENTALLY ILL BY THE

JURORS, WE SEDULD AT LEAST FAY ATTENTION TO THE MENTAL HEALTH FINDING.

We

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"HAVE, OF COURSE, REVIEWED THE TRIAL NOTES DURING THE COURSE
OF THE TRIAL IN PREPARATION FOR THE SENTENCING. I HAVE TAKE ‘INTO
CONSIDERATION THE MEDICAL RECORDS AND THE REPORTS, AND ALSO THE MEDICAL
‘TESTIMONY FROY BOTH SIDES REGARDING THE INSANITY "OR SANITY OF THE
DEFENDANT. IN REVIEWING THE CASE, FIRST, THE JURORS LISTENED AND
RETURNED THE VERDICT. I HAD AN OPPORTUNITY TO LISTEN TO THE VICTIMS WHO

APPEARED HERE, OF COURSE, I HAVE TAKEN INTO CONSIDERATION "HE PURPOSE OF

THE LEGISLATIRE IN PASSING CERTAIN LAWS. I HAVE TAKEN INTO CONSIDERATION”

THE ENTIRE PRESENTENCE REPORT AND THE ARGUMENTS or COUNSEL. IN
FORMULATING A SENTENCE, TI HWE, IN FACT, CONSIDERED 'THE- PRO'UECTION. TO

SOCIETY THAT'S NECESSARY. I HAVE CONSIDERED ‘THAT, ‘AND REALIZE THAT THE
DEFENDANE NEEDS SOME PSYCHIAPRIC ASSISTANCE. iI HAVE CERTAINLY TAKEN THE

qu

TESTIMONY OF THE VICTIMS IND CONSTDERATION. I HAVE ALSO CONSIDERED THE

FAMILIES OF THE VICTIMS, BECRUSE THE FAMILIES’ HAVE SUFFERED JUST AS MUCH,

IF. nor MORE, AND THE DEFENDANT. HAS TO BE PUNISHED FOR THE CRIMES THAT THE ~

JURORS CONVICTED HIM OF.

THE DEFENDANT WILL PAY TWO HUNDRED AND EIGHT DOLLARS IN FINES
AND COSTS. THE RESTITUTION FORMS ARE APPROD AND ARE MADE A PART OF THE /
RECORD, AND HE VICTIMS WILL’BE ELIGIBLE FOR PAYMENT FROM TH: VICTIM

COMPENSATION FUND.

LL ALSO IMPOSE. A FINE ON THE DEmnbaNt OF TWENTY-FIVE

THOUSAND DOLIARS, AND. TL ; ALSO ORDER RESTITUTION 3¥ THE ‘DERENDANT. SHOULD .

COME INTO SOM2 ASSETS. THAT S ONE HUNDRED THOUSAND DOLLARS ‘TO EACH

VICTIM.

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. . + . “16
THE AGGRAVATED ASSAULT “AND THE ATIEMPTED MURDER WILL MERGE.
Tih IMPOSE A SENTENCE, BUT IP ‘WILL BE CONCURRENT AND ‘THEY WLL RUN
TOGETHER BECAUSE THEY DO MERGE. SO IT WILL'BE TEN TO TWENTY AND TWENTY

TO FORTY ON EACH AGGRAVATED ASSAULT, AND ON EACH TWENTY TO DRTY ON EACH

OF THE ATTEMPTED MURDERS TO THE FIVE VICTIMS. ‘THE. AGGRAVATH) ASSAULTS

WILL RUN ON EACH VICTIM AND WILL ROW CONCURHINT WITH THE ATIEMPTED
MURDER.
HE WAS ALSO CONVIGRED OF P.I.C.C. WRICH IS AN WL.
MR. GILLISON: YES.
‘THE COURT: THAT SENTENCE IS TW AND A HALF TO FIVE YEARS.
HE'LL SERVE THE. SENTENCES OF THE ATTEMPTED MURDER, TWENTY TO FORTY YEARS,
CONSECUTIVELY, AND HE‘ LL. SERVE THE POSSESSION OF AN INSTRUMENT OF CRIME

CONSECUTIVELY.

_50 THE TOTAL SENTENCE WILL ES ONE HUNDRED AID TWO AND A

HALF TO a0 HUNDRED BND FIVE YEARS.
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Final Appeal Decision
Secretary’s Office of Inmate Grievances & Appeals
Pennsylvania Department of Corrections
1920 Technology Parkway
Mechanicsburg, PA 17050

This serves to acknowledge receipt of your appeal to the Secretary's Office of Inmate Grievances and Appeals
for the grievance noted below. In accordance with the provisions of DC-ADM 804, “Inmate Grievance System
Policy’, the following response is being provided based on a review of the entire record of this grievance. The
review included your initial grievance, the Grievance Officer's response, your appeal to the Facility Manager, the
Facility Manager's response, the issues you raised to final review, and (when applicable) any revised institutional
. responses required as a result of a subsequent remand action by this office. As necessary, input from appropriate
Central Office Bureaus (e.g., Health Care Services, Chief Counsel, Office of Special Investigations and
intelligence, etc) may have been solicited in making a determination in response to your issue as well.

Casey Dooley

SCI Filed

Huntingdon
| 691710

Publication (if applicable): |

Mi Uphold Response (UR)
2 Uphold Inmate (Ul)-

C} Uphold in part/Deny in part -

is the decision of the Secretary’s Office of Inmate Grievances and Appeals to uphold the initial response,
uphold the inmate, or Uphold in part/Deny in part. This response will include a brief rationale, summarizing the

conclusion, any action taken to resolve the issue(s) raised in the grievance and your appeal and relief sought.
Response:

in your grievance and appeal you continue to assert that you should be properly identified as a “D” roster
individual and be provided the associated mental health treatment. Your concerns have been reviewed by
staff in the Psychology Office.

it has been found that your court documents were reviewed and found to notidentify you as “Guilty but Mentally
ill’. Because you do not like or agree with the interpretation of your court documents does not give any further
merit to your claims. If you do not agree with the court documents, this should be addressed with the Judge
and the court. Therefore, this office upholds the responses provided to you and your requested relief is denied.

“Signature: borin Vamer (00, | { CO1V06 CH

Title: | Chief Grievance Officer
Date: 12/8/17
DLV/KLM

CC: DC-15/Superintendent Kauffman
Grievance Office :

XII
DC-ADM 804, inmate Grievance System Procedures Manual
Section 2- Appeals — Atiachment 2-F

Issued: 1/26/2016
Effective: 2/16/2016
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